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                 UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                  Criminal No. 10-cr-53-02-JD

Joseph Glazier


                   ORDER OF DETENTION PENDING TRIAL


     In accordance with Section 3142(f) of the Bail Reform Act, 18

U.S.C. '' 3141 et seq., a hearing was conducted on September 14, 2010,

for the purpose of determining whether to detain defendant, Joseph

Glazier, who has been indicted on a charge of conspiracy to distribute

marijuana in excess of 1000 kilograms in violation of 21 U.S.C. ''

841(a)(1), 846.

     Under 18 U.S.C. ' 3142(b), a court, in making a determination

regarding detention, must evaluate the risk of the defendant=s flight,

the risk to the safety of any other person, and the risk to the safety

of the community.    In circumstances when detention is not mandated

by the court, the court is nonetheless empowered to impose conditions

on release.   18 U.S.C. ' 3142(c).

     Pursuant to the provisions of 18 U.S.C. ' 3142(g) a court, in

assessing the risks noted in 18 U.S.C. ' 3142(b), shall consider the




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following: (1) the nature and circumstances of the offense charged;

(2) the weight of the evidence as to guilt; (3) the history and

characteristics of the accused, including family ties, past history,

financial resources and employment; and (4) the nature and

seriousness of the danger to any person or the community that would

be posed by a release.

     During the course of a hearing conducted pursuant to 18 U.S.C.

' 3142, the government typically retains the burden of persuading the

court that A>no condition or combination of conditions will reasonably

assure= the defendant=s presence at trial.@         United States v.

Perez-Franco, 839 F.2d 867, 870 (1st Cir. 1988) (quoting United

States v. Palmer-Contreras, 835 F.2d 15, 17-18 (1st Cir.

1987)); United States v. Patriarca, 948 F.2d 789, 793 (1st Cir. 1991).

For its part, the government is required to offer clear and convincing

evidence of dangerousness; and a preponderance of the evidence to

prove risk of flight.     See Patriarca, 948 F.2d at 792-93.            Facts

necessary to find that no combination will reasonably assure the

safety of any person and the community require satisfaction of the

Aclear and convincing@ standard.         18 U.S.C. ' 3142(f)(2).

     In specific instances, delineated in 18 U.S.C. ' 3142(e), a

presumption arises that no condition or combination of conditions




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will reasonably assure the appearance of a defendant and the safety

of the community.    Among the instances where a presumption arises

is the situation where,

     the judicial officer finds that there is probable cause
     to believe that the person committed an offense for which
     a maximum term of imprisonment of ten years or more is
     prescribed in the Controlled Substances Act (21 U.S.C. 801
     et seq) . . . .

18 U.S.C. ' 3142(e).

     In the case at hand, the indictment itself establishes probable

cause to believe that the offenses charged have been committed and

that the defendant has committed them.         Further, the offenses

charged against defendant are ones for which a maximum term of

imprisonment is ten years or more, as prescribed in the Controlled

Substances Act, 21 U.S.C. '' 801 et seq.     See United States v. Dillon,

938 F.2d 1412, 1417 (1st Cir. 1991).        Thus, Section 3142(e)=s

rebuttable presumption that Ano condition or combination of

conditions will reasonably assure [defendant=s] appearance . . . and

the safety of the community . . .@ is triggered in this case.              See

18 U.S.C. ' 3142(e), (f); 21 U.S.C. ' 841(b)(1)(C); see also United

States v. Vargas, 804 F.2d 157, 162-63 (1st Cir. 1986).

     In order to counter the statutory presumption triggered, the

defendant must present evidence which demonstrates that Awhat is true




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in general is not true in [his] particular case.@               United States v.

Jessup, 757 F.2d 378, 384 (1st Cir. 1985).            Notably, the burden is

one of production, not of persuasion.           Id. at 380-81.

     Here, the government and the defendant agreed to conduct the

hearing by offers of proof.         The government did not argue that

defendant was a danger to the community.         For the reasons stated more

fully on the record, I find that the defendant failed to rebut the

presumption with regard to serious risk of flight.

     In finding that defendant is a serious risk of flight, I rely

on the following:

     •      The nature of the charge is a serious drug offense that

            carries a minimum mandatory 10 year sentence, which, when

            coupled with defendant’s age (60 years old), provides a

            motive for him to flee.

     •      Based upon the government=s proffer, the weight of the

            evidence is strong.

     •      The government’s proffer included a description of the

            defendant having utilized an underground storage facility

            in Arizona to store and conceal marijuana for distribution.

     •      The defendant has no ties to any particular community or

            location.




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     •      The defendant has minimal assets and no verifiable

            employment history;

     •      The defendant placed assets (which he apparently owned) in

            the name of another person in an effort to avoid detection

            from law enforcement.

     •      The only fact in defendant’s favor (regarding risk of

            flight) was his relationship with his son, Shaun, who is

            apparently willing to act as a third party custodian.             It

            is undisputed, however, that defendant has had no contact

            with Shaun for most of Shaun’s life.          Defendant’s brief

            relationship with his son, Shaun, is not sufficient, by

            itself, to rebut the presumption that defendant is a risk

            of flight.

     Upon full consideration of the arguments offered by the

government and defense and for the reasons stated on the record, I

am satisfied that the defendant has not rebutted the presumption that

he poses a serious risk of flight.          Accordingly, it is ORDERED that

the defendant be detained pending trial.

     The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody



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pending appeal.     The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.           On order

of a court of the United States or on request of an attorney for the

Government, the person in charge of the corrections facility shall

deliver the defendant to the United States Marshal for the purpose

of an appearance in connection with a court proceeding.

      SO ORDERED.


                                         _____________________________
                                         Landya B. McCafferty
                                         United States Magistrate Judge

Date: September 14, 2010

cc:   Paul J. Garrity, Esq.
      U.S. Attorney
      U.S. Probation
      U.S. Marshal




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